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 6                                  U NITED STATES D ISTRICT C O U R17
 7                                          DISTRIC T O F N EV AD A
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 8 UNITED STATESOFAMERICA,                                )                                                       1
                                                          )                                                       i
 9                             Plaintiff,                 )                                                       I
10                                                        )                                                       .
                 v.                                       )         2:08-CR--
                                                                            '!1I-RLH ((JW F)
                                                          )
l1 HAGOB PALIKYAN,                                        )
                                                          )
12                             Defendant.                 )
13                               PRELIM INARY O RDER O F FO RFEITURE                                              I
                                                                                                                  I
14               ThisCourttindsthaton M arch 3,2011,defendantHA G O B PA LIK YAN pled guilty to C'ount 1

15 FiveofaTen-c'
               .
               ountSecondSupersedingCriminallndictmentcharginghimwithAggravatedldentity i                         I
16 Theh,inviolationofTitle 18,UnitedStatesCode,Sections1028A(a)(1)and(c)(zI),1029(a)(1),and
17       l344.
                                                                                                                  l
18               ThisCourtfinds defendantH AG OB PALIK Y AN agreed in the Plea M em orandum to the
19       fort-
             eiture of the property set forth in Forfeiture A llegations of the Second Supcrseding Crirainal '
20       lndictm enl.

21               ThisCourttinds,pursuantto Fed,R.Crim.P.32,2(b)(1)and (2),the United Statdlsof ;
22       Am ericahasshow n therequisite nexusbetween property setforth in the Forfeiture A llegationsc.
                                                                                                      fthe !
23       Second Superseding Crim inallndictm entand the offense to w hich detkndantH .
                                                                                     4 (JO B PA LIK Y AN !
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24       pled guilty.
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 Case 2:08-cr-00311-MMD-GWF          Document 288      Filed 03/03/11     Page 2 of 7
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 l          The following assetsare subjectto forfeiture pursuantto Title 18,Uaited StatesCode,
     l
 2. Sections981(a)(1)(A)and (a)(1)(C)and Title 28,United StatesCode,Section 2461(c);Title 18,
 34j United StatesCode,Sections982(a)(1),982(a)(2)(A)and(B),and 10.29(c)(1)(C,p:
     ;                                                                                            i
 41.              a.     Sony Brow n 42''Lcd Tv,Sm 1050106;
                                                                                                  I
 5                b.     Sony Brow n 42''Lcd Tv,Sm 1002050;
 6                c.     D ellM odel 1320 LaserPrinter,Sm 3514711t7)                              ,


 7                d.     D ellM odel 1850 Laser Printer,S/N 141c34091;.                           .


 8                e.     AcerLaptop,Sm 1> a170x043820001e2 513;                                   '
                                                                                                  I

 9                f.     DellXpsLaptop,Sm 5vg3kd1;                                                I
                                                                                                  !
10                g.    A pple M ac Laptop,S/N W 8807f5dopl;                                      '
11                h.    H p Laptop,Sm 2ce7222m 6q;                                                I

12                i.     M acBookAir,Sm W 8813ppuy5l;                                             j
13               j.      M iscellaneousCards,Cables,Remotes,Controllers,Stands;
14                k.    3.5 X D rivesExtend H arddrive,S/)k020851;                                '
15                1.    A pple Tv,Sm 61-8182w 04cp;
                                                                                                  ,
16                m.    W d ExternalH ard Drive,Sm 8+ 11207674808;
17                n.    M sr206 Encoder,S/N -4015401;
18                o.    Psp Portable,Sm 13p865026504-1:sp1001;                                    I
19                                                                                                I
                 p.     PspPortable,Sm /ï4045924040-13sp2001;                                     j
20               q.     Ipod Touch 16 Bg,Sm 1c801671417;                                          i
                                                                                                  I
21               r.                                                                               I
                        lphone,Sm 5k81880jwh8;                                                    ,
22                s.    Iphone,S;ç Bcga124l;
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23               t.     Iphone,Sdç 5k80247kwh8;                                                   I
24               u.     IphonesSm 579ca124 1;                                                     !
25               v.     Sandisk 2 Gb Flashdrive,S/hi2048+ ;
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26               w'.    Sandisk 4 Gb Flashdrive,S/N 4096+ ;                                       ,


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 Case 2:08-cr-00311-MMD-GWF         Document 288        Filed 03/03/11   Page 3 of 7
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 1            x.        Sandisk 1 Gb Flashdrive,S/hl1024rb;                                      ,
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 2            y.        Pny A ttache 1 Gb Flashdrive,N o S/N ;                                   1
 3i                                                                                              I
  j;          z.        LogitechMxRevolutionThumbdrive,Sm 810-000412;
 41:          aa.       lron Key Thumbdrive,Sm 0140485;                                          I
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 5.'          ab   .    lron KeyThumbdrive,S/hl0140551;
 6            ac,       DellXpsTower,Sm 30gzcg1;                                                 I
                                                                                                 I
 7            ad.       Playstation 3,Sm Cel24062502-Cecha01;
 8            ae.       Playstation 3,Sm C2514635354-C2 c14g01;
 9            af.       Xbox 360,Sm 311730682105;
10            ag.       X box 360,N o S/N ;                                                      I
11            ah.       1-Xbox 360VideoGame;                                                     !
                                                                                                 I
                                                                                                 .


12            ai.       11 -Playstation 3 V ideo G am es;                                        i

13            aj.       6-PspGameslnCase;
14            ak.       35 -Blue Ray M ovies;

l5            aI.       W tj-90aTipper;                                                          ,
l6            am    .   $3,000 Cash (From Gary Am bartsumyan'srooln);                            !
                                                                                                 L
17:'
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              an.       $4900Cash(From ArturAmbartsumyan'sroorn);                                i
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                                                                                                 I
18            ao.       $14,802.63inM oneyGram M oneyOrders;                                     1
l9            ap.       M ens'Breitling Bentley W atch,S/N A 25362;and
20            aq.       M ens'Breitling Bentley W atch;                                          !
                                                                                                 !
21 .          ar        counterfeitaccessdevicecontainingunauthorizedaccountinfonnationforVisa l
                                                                                                 i
22 .
   1                    debitcard accountin thenam eofM .V.,accountnumberending in X-46423;
23 i                                                                                              l
     .        as.       counterfeitaccessdevicecontainingunauthorizedaccountinform ation forv isa .
24 i
   '                    debitcardaccountinthenameofG V .,accountending in .X-2319;
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25            at.       counterfeitaccessdevicecontainingunauthorizedaccountinfbrm ationforVisa I
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26 I                    debitcard accountin the nam e efC .D .,accounlending in X-1918;         l
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  '   2:08-cr-00311-MMD-GWF        Document 288     Filed 03/03/11     Page 4 of 7
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 1I           au,    counterfeitaccessdevice containing unauthorized accountinformation fora 1
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   i
 2!!                 Bank ofAm erica Visa debitcard account, accountending in X -7119.
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 3            av.    countertbitaccessdevicecontaining unauthorized accountinform ation for Bank
 4                   ofAmericaVisadebitcard accountin thenameofJ,R.,accountending in X -
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 5                   4609.                                                                   i
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 6            aw .   counterfeitaccessdevice containing unauthorized accountinformation fbra '
 7                   Bank ofA m erica V isadebitcard accountin the nam e of3 ,.l.,accountending
 8                   inX-1577, ,
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 9            ax.    counterfeitaccessdevicecontaining unauthorized accountinformation fora I
10                   Bank ofAm erica Visadebitcard account,accountending in X-8491;                !
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1l            ay.    counterfcitaccesjdevicecontaining unauthorized accountinform ation forBank
12                   ofA m erica V isa debitcard account, accountending in X-6657,
                                                                                 .                 '
l3            az     counterfeitaccessdevicecontainingunauthorized accountinform ation for Bank
14'                  ofAm erica v isa debitcard account, accountending in X-9612.
                                                                                ,                  i
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15:           aaa.   counterfeitaccessdevicecontainingunauthorized accountinform ation forBank l
16'                  ofAmericaVisadebitcard accountin thenameofG S.,accountending in X - I
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17                   2034*
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l8            aab.   counterfeitaccessdevicecontainingunauthorizellaccountinlbrmationtbrBank
19                   ofAmericaVisadebitcardaccountinthenameofC .S.,accountending inX- i
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20                   3846'
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21            aac.   counterfeitaccessdevicecontainingunauthorizetlaecountinfbnnationforBank
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22                   ofAm ericaVisadebitcard accountinthename ofS.K .,accountending in X -
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23                   50 10;
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24            aad.   counterfkitaccessdevicecontaining unauthorized accountinform ationfor Bank $
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25                                                                                              I
                     ofAmericaVisadebitcard accountinthenam eofE.H.,accountending in X- i
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26                   4275.
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       :                aae.    counterfeitaccessdevicecontainingunauthorizedaccountinform ationforBank i
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  2                             ofA m erica Visa debitcard accountin thenam e ofB .W .,accountending in X -
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  3                             7341;                                                                         .
  4'                    aaf.    counterfeitaccessdevicecontaining unauthorized accountinform ation forBank
  5'                            ofA m erica V isa debitcard account, accountending in X-30l9;                 1
                                                                                                              '
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  6                     aag.    countertkitaccessdeviceconl iningtm authorized accountinform ation forBank '
  7                             ofAm ericaVisadebitcardaccountinthenameofD .R .,accountending in X - '
  8                             4018;
 9                      aah.    counterfeitaccessdevicecontainingunauthorized accountinlbrm ation forBank
10                              ofAmericaVisadebitcard account, accountending in X-7()17'
                                                                                        ,
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11                      aai.    counterfeitaccessdevice containing unauthorizeclaccountinjbrm ation forBank
12.  '
                                ofAmerica Visadebitcard account,accountending in X-ti691;
13                                                                                                            j
                        aaj. counterfeitaccessdevicecontaining unauthorized accountinformatiortfor I
14                              W ellsFargo debitcard account, num berending in X-4424.
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15 :                    aak.    countertkitaccessdevicecontaining unauthorized accountinform ation lbra
l6                              W ellsFargo debitcard account, accountnum berending in X-7930.,         i
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17                      aal.    counterfeitaccess device containing unauthorized accountinform ation 1ora
l8                              W ells Fargo debitcard account, numberendinginX-6110'
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19                      aam .   2008 W hite BM W M 5,V lN W BSN B93548CX 09044'
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20                      aan.    2008 Black M ercedesBenzG-500 W agon,VIN W DCYRZI9E38X I71546)                i
21                      aao.    2006BlackQuadCabDodgeDakotaTruck,VIN 1D7HAl8286.
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22                      aap.    anlnpersonam criminalforfeituremoneyjudgmentot$663,089.35inUnited I!
23                              StatesCurrency
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   I.
   .              This ('
                        -oul'
                            tfindsthe United StatesofAmerica isnow entitled to,and should, reduce the !
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  lIaforementionedpropertytothepossessionoftheUnitedStatesofAmerica.
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                  N O W 1H EREFO RE,IT IS HEREBY O RD ER ED ,AD JU DG ED ,A N D DECREED thatthe I
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 4. United States01-Am ericashould seizethe aforementioned property.                                     )
 5                IT IS FU RTHER O RD ERED ,A DJU DG ED , A N D DECREED a1lright,tille,and interestof
 6 HAGOIJPALIKYAN in theaforem entioned property isforfeited and isvested in theUnited States I
                                                                                              i
                                                                                                         '
 7 ofAmericaand shallbesafely held bytheUnited StatesofAm ericauntilfurtherorderofthe Court.
                                                                                                         t
 8:               IT IS FURTHER ORDERED,ADJUDGED,AND DECREED theUnitedStatesofAm erica i
                                                                                       1
 9. shallpublish foratleastthirty (30)consecutive dayson theofficialinternetgovcrnmentforfeiture .
                                                                                                         I
10        w ebsite. wwav.forfeiture.gov,noticeofthisOrder,which shalldescribethe forfeited property,state I

1I thetimeundertheapplicablestatutewhenapetitioncontestingtheforfbiturem uslbefiled, and state
12        thenameandcontactinform ationforthegovernmentattorneyto beservedwiththepetiti           k
                                                                                      on,pursuant
13 ' toFed.R.Crinl.P.32.2(b)(6)andTitle21,UnitedStatesCode,Section853(n)(2).                             I
                                                                                                         I
14               IT IS FU RTH ER OR DERED ,A DJU DG ED ,A N D D ECREED apetition,ifany, m ustbetiled 5
                                                                                                         I
15 withtheClerkoftheCourt, 333 LasV egasBoulevard South,LasV egzs,N evada 89101               .
                                                                                                         I
l6               IT IS FU RTH ER O RDIIRED ,A DJU DG ED , AN D DEC REED a copy ofthe petition,ifany, .
l7 shallbtservtd upontheAssetForfeiturtAttorneyofthtUnitedSt                                             !
                                                                           atesAttorney'sOftic,
                                                                                              eatthe j
18' follow ing addressatthe tim e oftiling:                                                              I
19                     M ichaelA , H um pllreys                                                          I
                       AssistantUnited StatesAttorney                                                    '
20 .                   DanielD .I'lollingsw orth
                       A ssistantUnited States A ttorney
21 '                   Lloyd D . GeorgeUnited StatesCourthouse
  '                    333 1asVegasBoulevard South Suite5000
                             .                                                                           1
22                     Las V egas, N evada 89101.


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  1!'.
                     IT IS FURTHER ORDERED ,ADJUDGED ,AND DECREED thenoticedescribed herein
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  2 need notbe published in the eventa D eclaration ofForfeiture is issued by the appropriate agency I
     :
     !   p                                                                                                     I
  3'
   '
     follow ing publication ofnotice ofseizure and intentto adm inistratively forfeitthe above-described
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             propel-ty.                                                                                        I
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 5                   DATED this 3 dayof          .
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